                   Case 4:06-cr-40019-JPG                          Document 541 Filed 04/30/07                        Page 1 of 6        Page ID
    % A 0 2458     (Rev. 06/05) Judgment in a C~iminalCase                   #1478
                   Sheet 1




                            SOUTHERN                                       District o f                                      ILLINOIS

              UNITED STATES OF AMERICA                                              JUDGMENT IN A CRIMINAL CASE
                                       v.
                       BLAKE R. GORDON
                                                                                    Case Number:             4:06CR40019-OI I-JPG

                                                                                    USM Number: 06854-025
                                                                                     Rodney Holmes
                                                                                    Defendant's Attorney
THE DEFENDANT:
dpleaded guilty to count(s)                       1 of the Superseding Indictment
        pleaded nolo contendere to count(s)
        which was accepted by the court.
        was found guilty on count(s)
        after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

'rille & Section                               Nature of Offense                                                         Offense Ended                   Count
' 'RiF&+w ,
-   %
                       .    ;, ,,.,.   .   ,   ''Ga*pP                                                                                              .,   ,is:.;: :
                                                Intent to Distribute 500 Grams or More of a Mixture &



       The defendant is sentenced as provided in pages 2 through                        10              of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
        The defendant has been found not guilty on count(s)
        Count(s)                                                      is      are dismissed on the motion of the United States.

         It is ordered that the defendant must notiQ the Cn/red State5 attorney for this dismct w~thin30 da s of any change of name, res~dence,
or mailin address unt~lallfincs, rcstltunop,,costs, and spccial assessments imposcd by this judgment arc ruby paid. Ifordcred to pay re,tltution,
the defeniant must not~fythe coun and I n ~ t e dStates attorney of matenal changes in econonuc circumstances.

                                                                                     .. . -. -   -- .
                                                                                    Date of Imposition of Judgment




                                                                                     J. Phil Gilbert                                 District Judge
                                                                                    Name of Judge                                  Title of Judge
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A 0 245B        (Rev. 06105) Judgment in Criminal Case              #1479
                Sheet 2 -Imprisonment


DEFENDANT: BLAKE R. GORDON
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                                                                 IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of:

  196 months (This term consists of 240 months minus 44 months credit for time served on related state cases).




      L$ The court makes the following recommendations to the Bureau of Prisons:
  That the defendant be placed in the Intensive Drug Treatment Program.



      L$ The defendant is remanded to the custody of the United States Marshal
           The defendant shall surrender to the United States Marshal for this district:

                  at                                      a.m.         p.m.     on
                  as notified by the United States Marshal.

           The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                  before 2 p.m. on
           [7     as notified by the United States Marshal.
                  as notified by the Probation or Pretrial Services Office.


                                                                      RETURN
 I have executed this judgment as follows:




           Defendant delivered on                                                            to

 at                                                      , with a certified copy of this judgment.



                                                                                                        UNITED STATES MARSHAL


                                                                              BY
                                                                                                     DEPUTY UNITED STATES MARSHAL
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                                                                   #1480
A 0 245B                 .   -
              (Rev. 06105\ Judement in a Criminal Case
              Sheet 3 - Sllnervired Releme
                                                                                                           Judgment-Page      3     of          10
DEFENDANT: BLAKE R. GORDON
CASE NUMBER. 4:06CR40019-011-JPG
                                                         SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supenised release for a term of :

  10 years on Count 1 of the Superseding Indictment.



      The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Pnsons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfull possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall suimit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
 thereafter, as d e t e m e d by the court.
        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
 @ The defendant sball not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
 @ The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Cbeck, if applicable.)
        The defendant sball register with the state sex offender registration agency in the state where the defendant resides, works, or is a
        student, as directed by the probation officer. (Cbeck, if applicable.)
        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     If this 'udgrnent imposes a fme or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule o f l ~ a ~ m e nsheet
                            t s of this judgment.
      The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
   1)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the fust five days of
           each month;
   3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)      the defendant shall support his or her dependents and meet other family responsibilities;
   5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
   6)      the defendant sball notify the probation officer at least ten days prior to any change in residence or employment;
   7) the defendant shall refrain from excessiye use of alcohol and shall not purchase, possess, use, distribute, or admjnister any
           controlled substance or any paraphemalra related to any controlled substances, except as prescribed by a physlclan;
   8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)      the defendant shall not associate with any persons en aged in criminal activity and shall not associate with any penon convicted of a
           felony, unless granted p e m s s ~ o nto do so by the profation ofticer;
  10)      the defendant shall permit a probation oficer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed in plain view of the probation officer;
  11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and
  13)      as directed by the robatlon officer, the defendant shall notify third parties of r~sksthat may be occasioned by the defendant's crlrmnal
           record or personay hlstory or charactcrlst~csand shall permlt the probat~onofficer 10 makc such notlficatlons and to confirm the
           drfenhnt s compl~anccwith such notllicat~onrcqulrement.
A 0 2458
            Case 4:06-cr-40019-JPG
           (Rev. 06105) Judgment in a Criminal Case
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           Sheet 3C - Supervised Release                        #1481
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DEFENDANT: BLAKE R. GORDON                                                                                   -              10

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                                           SPECIAL CONDITIONS OF SUPERVISION
 X The defendant shall cooperate in the collection of DNA as directed by the probation officer

 X The defendant shall submit his person, residence, real property, place of business, computer, or vehicle to a search,
 conducted by the United States Probation Officers at a reasonable time and in a reasonable manner, based upon
 reasonable suspicion of contraband or evidence of a violation of a condition of supervision. Failure to submit to a search
 may be grounds for revocation. The defendant shall inform any other residents that the premises may be subject to a
 search pursuant to this condition.

 X The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
 commencement of the term of supervised release. The defendant shall pay the fine in installments of $10.00 per month or
 ten percent of his net monthly income whichever is greater.

 X The defendant shall provide the probation officer and the Financial Litigation Unit of the United States Attorney's Office
 with access to any requested financial information. The defendant is advised that the probation office may share financial
 information with the Financial Litigation Unit.

 X The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, andlor any other
 anticipated or unexpected financial gains to the outstanding court-ordered financial obligation. The defendant shall
 immediately notify the probation officer of the receipt of any indicated monies.

 X The defendant shall participate as directed and approved by the probation officer in treatment for narcotic addiction, drug
 dependence, or alcohol dependence, which includes urinalysis or other drug detection measures and which may require
 residence andlor participation in a residential treatment facility. Any participation will require complete abstinence from all
 alcoholic beverages. The defendant shall pay for the costs associated with substance abuse counseling andlor testing
 based on a co-pay sliding fee scale approved by the United States Probation Office. Co-pay shall never exceed the total
 costs of counseling.

 X The defendant shall participate in a program of mental health treatment, as directed by the probation officer, until such
 time as the defendant is released from the program by the probation officer.

  X Defendant shall submit within 15 days, not to exceed 52 tests in a one year period for drug urinalysis
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           (Rev. 06105) Judgment in a Criminal Case     Document 541 Filed 04/30/07                      Page 5 of 6            Page ID
           Sheet 5 C r i m i n a l Monetary Penalties             #1482

 DEFENDANT: BLAKE R. GORDON
                                                                                                     Judgment-    Page
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 CASE NUMBER: 4:06CR40019-OI I-JPG
                                                 CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                       Assessment                                       -
                                                                        Fine                                  Restitution
 TOTALS            $   100.00                                          $ 200.00                           $   0.00


      The determination of restitution is deferred until   -. An Amended Judgment in a Criminal Case(A0 245C) will be entered
      after such determination.

      The defendant must make restitution (including community restitution) to the following payees in the amount listed below

      If the defendant makes a partial payment, each pa ee shall receive an approximately ro ortioned ayment, unless specified otherwise &I
      the priorlty order or percentage payment colnmn~elow.However, pursuant to 18 Js.8.5 3664{), all nonfederal v~ctlmsmust be pald
      before the United States is pald.

 Name of Pavee                                                           Total*              Restitution Ordered         Priorilv or Percentas
                                                                                                                            ,
                                                                                                                                .., , I        .,
                                                                                                                                               .. ..




 TOTALS                                 $                       0.00        $                       0.00


       Restitution amount ordered pursuant to plea agreement $

       The defendant must pay interest on restitution and a fme of more than $2,500, unless the restitution or fme is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 9 3612(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. 5 3612(g).

 @f    The court determined that the defendant does not have the ability to pay interest and it is ordered that:
       @f the interest requirement is waived for the           @ fine       restitution.
           the interest requirement for the             fine       restitution is modified as follows:


 * Findings for the total amount of losses are re uired under Chapters 109A, 110,11OA, and 113A of Title 18 for offenses committed on or after
 September 13, 1994, but before Apnl23, 199%.
A 0 245B      Case
           (Rev.        4:06-cr-40019-JPG
                 06/05) Judgment in a Criminal Case      Document 541 Filed 04/30/07                 Page 6 of 6         Page ID
           Sheet 6- Schedule of Payments                           #1483
                                                                                                       Judgment- Page       6     of         10
 DEFENDANT: BLAKE R. GORDON


                                                       SCHEDULE OF PAYMENTS
 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

 A    Qf Lump sum payment of $                                due immediately, balance due

           IJ    not later than
                 in accordance              C,        IJ D,
                                                                 0 1
                                                              IJ E, or     ~    F below; or

 B         Payment to begin immediately (may be combined with            IJC,        IJD, or    IJF below); or
 C         Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

 D         Payment inequal                     (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

 E    IJ Payment during the term of supervised release will commence within                   (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F    Qf Special instructions regarding the payment of criminal monetary penalties:
            While on supervised release, the defendant shall make monthly payments in the amount of $10.00 or ten percent
            of his net monthly income, whichever is greater, toward his fine.




 Unless thc court has exprrssl ordered otherwise, if thisjud men1 imposes impr~sonment a cnt ofcriminal monetary pcnaltlrs isdue dunn
 imprisonment. All cnrmnarmoneta penalties, except gh       t ose payments made throug g ~ e d e r a Bureau
                                                                                                     l      of Prisons' Inmate Flnnncla?
 Respons~bil~ty Program are made to $e clerk of the c o w .

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed



      Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




      The defendant shall pay the cost of prosecution.

      The defendant shall pay the following court cost(s):

      The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (1 assessment, (2) restitution principal, (3) restitution interest, (4) fme principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
